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                          THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

IN RE:                                                     §
                                                           §             Case No. 19-33568-7
THE LINDERIAN COMPANY, LTD.,                               §
Tax ID No. 8556                                            §
301 Hollybrook Drive                                       §
Longview, Texas 75605                                      §
                                                           §             Chapter 11 – Subch. V
          Debtor.                                          §


                          DEBTOR’S WITNESS AND EXHIBIT LIST FOR
                            EMERGENCY SECOND-DAY HEARINGS

                                       [Relates to Dkt. Nos. 41, 42, 43]


TO THE HONORABLE JOSHUA P. SEARCY,
UNITED STATES BANKRUPTCY JUDGE:

          The Debtor in the above-captioned Chapter 11 reorganization respectfully files this

Witness and Exhibit List for the February 7, 2022, emergency hearing on Debtor’s (1) Emergency

Motion for Authorization to Pay Critical Vendors, (2) Emergency Utility Motion, and (3) Second

Emergency Motion for Authority to Use Cash Collateral [Dkt. Nos. 41, 42, 43] (collectively, the

“Motions”). Debtor identifies the following potential witness and exhibits:

                                                   WITNESSES

      1. Gregory Sechrist, Managing Partner of Debtor.

                                                   EXHIBITS1

    Ex.   Description                   Date/Dkt. #                            Offered Objection Admitted
     1    Proposed/Second Interim Cash     02/04/2022
          Collateral Order
     2    Revised 21-Day Estimated Cash    02/04/2022
1
 All designated exhibits are either: attached to this list, have already been produced by or to movants, or are
publicly available through the Court’s online case filing and docketing (ECF) system, accessible at
https://ecf.txeb.uscourts.gov


WITNESS AND EXHIBIT LIST                                                                                  PAGE 1 OF 3
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        Expenditures for Debtor’s
        Business Operations
   3    Texas Secretary of State –               01/20/2022
        Debtor Search
   4    IRS Liens                                01/21/2022

       Additionally, the Debtor expressly reserves the right to amend and add additional witnesses

and exhibits, including witnesses or exhibits listed by any other party and/or rebuttal or

impeachment witnesses and exhibits, as they are determined to be relevant or helpful by the Debtor

or the Court. Moreover, the Debtor reserves the right to use an documents filed in the case prior to

or subsequent to the filling and serving of this witness and exhibit list, and to move the Court for

additional relief, if necessary, including asking the Court to take judicial notice of any documents,

pleadings, entries, or orders entered in the case.

Dated: February 6, 2022,                              Respectfully submitted,

                                                      /s/Braxton B. Markle
                                                      Mark A. Castillo
                                                       Texas State Bar. No. 24027795
                                                      Robert C. Rowe
                                                       Texas State Bar No. 24086253
                                                      Braxton B. Markle
                                                       Texas State Bar No. 24126022
                                                      CURTIS | CASTILLO PC
                                                      901 Main Street, Suite 6515
                                                      Dallas, Texas 75202
                                                      Telephone: 214.752.2222
                                                      Facsimile: 214.752.0709
                                                      Email: mcastillo@curtislaw.net
                                                              rrowe@curtislaw.net
                                                              bmarkle@curtislaw.net

                                                      PROPOSED COUNSEL FOR
                                                      DEBTOR-IN-POSSESSION




WITNESS AND EXHIBIT LIST                                                                 PAGE 2 OF 3
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that, on February 6, 2022, a true and correct copy of the foregoing
document was served by the Court’s CM/ECF system on all parties requesting or consenting to
such service in this case.

                                                     /s/Braxton B. Markle
                                                     Braxton B. Markle




WITNESS AND EXHIBIT LIST                                                                PAGE 3 OF 3
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                    THE UNITED STATES BANKRUPTCY COURT
                                                                                                   1
                         EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION
In re:                                §
                                      §       Chapter 11
THE LINDERIAN COMPANY, LTD.,          §
Tax ID No. 8556                       §
301 Hollybrook Drive                  §
Longview, Texas                       §
                                      §       Case No. 22-60024
    Debtor.                           §

INTERIM ORDER GRANTING DEBTOR’S IN POSSESSION SECOND EMERGENCY
MOTION FOR AUTHORITY TO USE CASH COLLATERAL PURSUANT TO 11 U.S.C.
            § 363 AND GRANTING ADEQUATE PROTECTION

        On this day came on for consideration the Debtor’s Second Emergency Motion for

Authority to Use Cash Collateral Pursuant 11 U.S.C. § 363 and Granting Adequate Protection

(the “Motion”) of Debtor THE LINDERIAN COMPNAY, LTD. Having considered the Motion,

any responses thereto, the arguments of counsel and evidence presented at a hearing on the Motion,

the Court enters the following order.

        The Court finds that it has jurisdiction over these matters pursuant to 28 U.S.C. §§ 157 and

1334; the Court finds that these are core proceedings pursuant to 28 U.S.C. § 157(b)(2); the Court

finds that proper and adequate notice of the Motion and the hearing thereon has been given under

the circumstances and that no other or further notice is necessary; the Court finds that the relief

granted herein is necessary to avoid immediate and irreparable harm as contemplated by

Bankruptcy Rule 6003(b);the Court finds Debtor has shown good, sufficient, and sound business

purpose and justification for the relief requested in the Motion; the Court finds the relief requested

in the Motion is in the best interest of the Debtor, its estate, and the creditors thereof; and the Court

finds that upon the record herein after due deliberation thereon good and sufficient cause exists for

granting the Motion as follows:



LINDERIAN - SECOND INTERIM CASH COLLATERAL ORDER                                              Page 1 of 4
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       ORDERED that the Motion and relief requested are GRANTED on an interim basis as

expressly stated herein.

       IT IS FURTHER ORDERED that, with consent given by the Internal Revenue Service,

the Debtor is authorized to utilize Cash Collateral (all terms as defined in the Motion) under section

363 of the Bankruptcy Code of (a) up to $147,534.33 to pay payroll plus the required amount to

pay all required taxes and withholdings from both employer and employee, and (b) up to

$87,958.00 in additional expenses under the left-side “Authorized” column of the attached Exhibit

1 Budget, less the LDI payroll amount of $500.27 and associated taxes for Greg Sechrist within

the line item of LDI Management (which amount has been waived by Mr. Sechrist). The request

for payment of the items on the right-side “Postponed” column of the Budget shall be heard at

final hearing on February 22, 2022.

       IT IS FURTHER ORDERED that, as adequate protection and on an interim basis for the

use of the Cash Collateral, the Court grants the Secured Creditors (i.e., the Internal Revenue

Service) the following protections: Court Records: As part of the adequate protection provided to

the Secured Creditors, the Debtor shall submit to the Secured Creditors copies of all monthly

reports required to be made to the United States Trustee, all filings made by the Debtor with the

Court, and all notices of hearings in this Reorganization Case. Bank Accounts: The Debtor shall

maintain their Debtor-in-Possession accounts in accordance with the orders of this Court

applicable thereto and/or in accordance with the regulations of the Office of the United States

Trustee. Insurance: The Debtor shall give the Secured Creditors proof of insurance coverage and

maintain same on the tangible portions of the Collateral. Taxes. The Debtor intends to stay current

on all post-petition tax obligations. Replacement Liens: The Secured Creditors shall be granted a

general and continuing lien upon and security interest in and to all of the Debtor’s right, title, and



LINDERIAN - SECOND INTERIM CASH COLLATERAL ORDER                                           Page 2 of 4
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interests in, to, and against the Secured Creditors’ collateral, acquired by the Debtor after the

Petition Date (the “Post-Petition Collateral”); provided, however, that such replacement liens shall

be granted only to the extent necessary to replenish the diminution in value as of the Petition Date

of the Secured Creditors’ pre-petition liens and security interest and shall not exceed the amount,

priority, validity, perfection or enforceability of the Secured Creditors’ lien position and rights as

of the Petition Date; provided further, that such replacement liens shall not attach to avoidance

actions or other actions under Chapter 5 of the Bankruptcy Code or any proceeds or recoveries

therefrom; provided further that the replacement liens shall not be subject to any lien that is avoided

and preserved for the benefit of the Debtor’s estates under section 551 of the Bankruptcy Code;

provided further that notwithstanding anything to the contrary herein, nothing herein shall

prejudice the Debtor’s right to contest, dispute, object to, avoid, and/or raise any and all defenses

and claims against the Secured Creditors’ prepetition alleged secured loans, security interests, and

liens for the limited period described herein, and nothing herein shall entitle any of the Secured

Creditors to cross collateralization not previously allowed. The Replacement Liens provided by

this paragraph shall be deemed first and prior, valid, perfected, and enforceable without the need

of filing, recordation, documentation, or other acts on the part of the Secured Creditors or the

Debtor subject to the Debtor’s right to assert an objection to the nature, extent, validity, or priority

of the Secured Creditors’ security interests, or any other matter with respect to such.

        IT IS FURTHER ORDERED that, notwithstanding anything contained herein to the

contrary, nothing herein shall affect the rights of the Texas Health and Human Services

Commission from exercising its rights of recoupment, but the Debtor In Possession, Internal

Revenue Service, or any Trustee subsequently appointed shall retain its right to exhaust

administrative remedies to contest the dollar amount of any recoupment(s) effectuated.



LINDERIAN - SECOND INTERIM CASH COLLATERAL ORDER                                             Page 3 of 4
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       IT IS FURTHER ORDERED that the relief granted by this Interim Order on an interim

basis shall be converted to a final basis if no objection to the Motion is filed by February 18,

2022. A final hearing on this Motion will be held on February 22, 2022 at 9:30 a.m., with witness

and exhibit lists to be filed and served (and exhibits exchanged) by February 21, 2022.

       IT IS FURTHER ORDERED that this Court shall retain jurisdiction over all matters

arising from or related to the implementation or interpretation of this Interim Order.

       IT IS FURTHER ORDERED that all requested relief not otherwise granted is denied

without prejudice.




LINDERIAN - SECOND INTERIM CASH COLLATERAL ORDER                                          Page 4 of 4
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                             The Linderian Company, LTD.
                            21-DAY ESTIMATED CASH EXPENDITURES
                              January 20, 2022 - February 10, 2022                                   Exhibit 1
             (non-payroll and items to be held to Feb 22 pushed to right column)

EST. DATE
  2/1/2022
                          VENDOR
             American Healthtech
                                                 Authorized Amt
                                                 $        1,401
                                                                  Postponed Amt          NOTES
                                                                                   Computer software             2
  2/3/2022   Atmos                               $        2,019                    gas
  2/1/2022   Conterra networks                   $          541                    internet service
  2/1/2022   CPRO Associates                     $        7,016                    work injury ins.
  2/7/2022   CPSI                                $          -     $          677   medical software              hold
  2/5/2022   Farmer Brothers                     $          689                    coffee
  2/1/2022   Fortis EMS                          $          -     $        2,217   Medical transport             hold
1/28/2022    IPPS                                $       12,132                    insurance premium
  2/5/2022   Kirby                               $        1,960                    chemicals for laundy
  2/7/2022   City of Longview                    $          -     $        1,987   water                         hold
1/30/2022    Manage Meds                         $          -     $          759   Pharmacy consultant           hold
  2/7/2022   Mckesson Med                        $          -     $        6,154   medical supplies              hold
  2/3/2022   Mealsuite                           $          248                    Dietary software
1/31/2022    Optima                              $          -     $          400   Therapy software              hold
1/31/2022    Optum                               $          -     $          277   therapy software              hold
1/30/2022    Pharmscript                         $       17,604                    pharmacy
1/30/2022    US Med Equipment                    $          -     $        1,075   leased equipment              hold
  2/5/2022   LDI Management                      $       20,000                    Therpy Contract
  2/1/2022   Lindenmeyr Monroe                   $        1,000                    hskp supplies
  2/1/2022   Harvest Fresh Juice                 $          220                    Juice
  2/1/2022   Skinners                            $          197                    gas for van
1/24/2022    Bimbo Bakeries                      $          225                    bread
1/31/2022    Bimbo Bakeries                      $          225                    bread
  2/7/2022   Bimbo Bakeries                      $          225                    bread
1/25/2022    Hiland Dairy                        $          252                    milk
  2/1/2022   Hiland Dairy                        $          252                    milk
  2/1/2022   US Foods                            $       13,000                    food
  2/8/2022   Hiland Dairy                        $          252                    milk
  2/1/2022   Shefa Healthcare                    $          -     $       50,000   lease payment                 hold
             Sub-V T post-pet retainer 1/3       $        2,500
             Ombudsman poset-pet retainer        $        6,000
             CCPC Bk counsel post-pet retainer                    $      15,000                                  hold
             Total 21-Day Expenditures           $      87,958    $      78,545
                                                     Authorized       Postponed
             Anticipated Monthly Revenue
             Private Pay Revenue                        140000
             Medicare Revenue                           130000
             Insurance Revenue                           40000
             Medicaid Revenue                            25000
                            Total                       335000
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TEXAS SECRETARY of STATE                                                                                 EXHIBIT
JOHN B. SCOTT                                                                                              7
                                                                Debtor Name Search
 This debtor name search was performed on 01/20/2022 02:48 PM with the following search parameters:
 DEBTOR NAME: THE LINDERIAN COMPANY
 CITY: [Not Specified]                                                                                             3
 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            12-0003395831 Notice of Federal Lien 02/01/2012 05:00 PM 1     01/04/2022
                    21-00429339           Termination                    09/22/2021 05:00 PM 1     n/a

 Debtor             LINDERIAN COMPANY LTD, A                                403 SYLVIA S7
                    PARTNERSHIP                                             LONGVIEW, TX, 75604-
                                                                            1153
 Debtor             LINDERIAN COMPANY LTD                                   403 SYLVIA S7
                                                                            LONGVIEW, TX, 75604-
                                                                            1153
 Secured            INTERNAL REVENUE SERVICE                                P O BOX 145595 MC 8420G
 Party                                                                      CINCINNATI, OH, 45250-
                                                                            5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            12-0006845581 Notice of Federal Lien 03/05/2012 05:00 PM 1     01/04/2022
                    21-00429355           Termination                    09/22/2021 05:00 PM 1     n/a

 Debtor             LINDERIAN COMPANY LTD, A                                301 HOLLYBROOK DR
                    PARTNERSHIP                                             LONGVIEW, TX, 75605-
                                                                            2461
 Debtor             LINDERIAN COMPANY LTD                                   301 HOLLYBROOK DR
                                                                            LONGVIEW, TX, 75605-
                                                                            2461
 Secured            INTERNAL REVENUE SERVICE                                P O BOX 145595 MC 8420G
 Party                                                                      CINCINNATI, OH, 45250-
                                                                            5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            15-0014386937 Notice of Federal Lien 05/05/2015 05:00 PM 1     01/28/2025
                    21-00575812           Termination                    12/21/2021 05:00 PM 1     n/a

 Debtor             LINDERIAN COMPANY LTD, A                                301 HOLLYBROOK DR
                    PARTNERSHIP                                             LONGVIEW, TX, 75605-
                                                                            2461
 Debtor             LINDERIAN COMPANY LTD                                   301 HOLLYBROOK DR
                                                                            LONGVIEW, TX, 75605-
                                                                            2461
 Secured            INTERNAL REVENUE SERVICE                                P O BOX 145595 MC 8420G
 Party                                                                      CINCINNATI, OH, 45250-
                                                                            5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            15-0027450993 Notice of Federal Lien 08/18/2015 05:00 PM 1     04/29/2025

 Debtor             LINDERIAN COMPANY LTD, A                                301 HOLLYBROOK DR
                    PARTNERSHIP                                             LONGVIEW, TX, 75605-
https://direct.sos.state.tx.us/ucc_order/ucc_order-dns.asp?spage=dns-i                                                 1/3
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 Debtor             LINDERIAN COMPANY LTD                                    301 HOLLYBROOK DR
                                                                             LONGVIEW, TX, 75605-
                                                                             2461
 Secured            INTERNAL REVENUE SERVICE                                 P O BOX 145595 MC 8420G
 Party                                                                       CINCINNATI, OH, 45250-
                                                                             5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            15-0033367028 Notice of Federal Lien 10/16/2015 05:00 PM 1     08/05/2025

 Debtor             LINDERIAN COMPANY LTD, A                                 403 SYLVIA ST
                    PARTNERSHIP                                              LONGVIEW, TX, 75604-
                                                                             1153
 Debtor             LINDERIAN COMPANY LTD                                    403 SYLVIA ST
                                                                             LONGVIEW, TX, 75604-
                                                                             1153
 Secured            INTERNAL REVENUE SERVICE                                 P O BOX 145595 MC 8420G
 Party                                                                       CINCINNATI, OH, 45250-
                                                                             5595


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            16-0008451429 Financing Statement 03/16/2016 05:00 PM 7     03/16/2021

 Debtor          THE LINDERIAN COMPANY, LTD.                                 301 HOLLYBROOK DRIVE
                                                                             LONGVIEW, TX, 75605
 Secured         CAMBRIDGE REALTY CAPITAL LTD. OF                            125 S. WACKER DRIVE,
 Party           ILLINOIS                                                    SUITE 1800
                                                                             CHICAGO, IL, 60606
 Secured         SECRETARY OF HOUSING AND URBAN                              451 SEVENTH STREET, SW
 Party           DEVELOPMENT                                                 WASHINGTON, DC, 20410


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            19-0043518809 Notice of Federal Lien 11/15/2019 05:00 PM 1     11/06/2029

 Debtor                LINDERIAN COMPANY LTD                             403 SYLVIA ST
                                                                         LONGVIEW, TX, 75604-1153
 Secured Party         INTERNAL REVENUE SERVICE                          P O BOX 145595 MC 8420G
                                                                         CINCINNATI, OH, 45250-5595


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0030884419 Financing Statement 06/26/2020 05:00 PM 6     06/26/2025

 Debtor       THE LINDERIAN COMPANY, LTD.                    301 HOLLYBROOK DRIVE
                                                             LONGVIEW, TX, 75605
 Secured      CAMBRIDGE REALTY CAPITAL                       ONE NORTH LASALLE ST., 37TH FLOOR
 Party        LTD. OF ILLINOIS                               CHICAGO, IL, 60602
 Secured      SECRETARY OF HOUSING AND                       OFFICE OF RESIDENTIAL CARE
 Party        URBAN DEVELOPMENT                              FACILITIES, 451 7TH STREET SW
                                                             WASHINGTON, DC, 20410


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            20-0062107624 Notice of Federal Lien 12/17/2020 05:00 PM 1     10/14/2030

 Debtor                LINDERIAN COMPANY LTD                             301 HOLLYBROOK DR
                                                                         LONGVIEW, TX, 75605-2461

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 Secured Party                            Document
                       INTERNAL REVENUE SERVICE         Page  11  of
                                                    P O BOX 145595 MC21 8420G
                                                                         CINCINNATI, OH, 45250-5595


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0022156837 Financing Statement 05/28/2021 02:06 PM 2     05/28/2026

 Debtor          THE LINDERIAN COMPANY, LTD.                             301 HOLLYBROOK DR
                                                                         LONGVIEW, TX, 75605
 Debtor          SUMMER MEADOWS                                          301 HOLLYBROOK DR
                                                                         LONGVIEW, TX, 75605
 Debtor          GREGORY LAVERNE SECHRIST                                403 SYLVIA ST
                                                                         LONGVIEW, TX, 75604
 Secured         C T CORPORATION SYSTEM, AS                              330 N BRAND BLVD, SUITE 700;
 Party           REPRESENTATIVE                                          ATTN: SPRS
                                                                         GLENDALE, CA, 91203


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 Select All Filings:
  Order Selected Filings          Order Certificate        New Search



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    If you wish to order only selected filings for this debtor, check by the filings and press 'Order Selected Filings'.
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               Case
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TEXAS SECRETARY of STATE
JOHN B. SCOTT
                                                               Debtor Name Search
 This debtor name search was performed on 01/20/2022 02:48 PM with the following search parameters:
 DEBTOR NAME: THE LINDERIAN COMPANY
 CITY: [Not Specified]


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            21-0028534338 Notice of Federal Lien 07/06/2021 05:00 PM 1     04/21/2031

 Debtor                LINDERIAN COMPANY LTD                             301 HOLLYBROOK DR
                                                                         LONGVIEW, TX, 75605-2461
 Secured Party         INTERNAL REVENUE SERVICE                          P O BOX 145595 MC 8420G
                                                                         CINCINNATI, OH, 45250-5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            21-0030403780 Notice of Federal Lien 07/16/2021 05:00 PM 1     01/27/2031

 Debtor                LINDERIAN COMPANY LTD                             301 HOLLYBROOK DR
                                                                         LONGVIEW, TX, 75605-2461
 Secured Party         INTERNAL REVENUE SERVICE                          P O BOX 145595 MC 8420G
                                                                         CINCINNATI, OH, 45250-5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            21-0036308245 Notice of Federal Lien 08/17/2021 05:00 PM 1     08/11/2031

 Debtor                LINDERIAN COMPANY LTD                             403 SYLVIA ST
                                                                         LONGVIEW, TX, 75604-1153
 Secured Party         INTERNAL REVENUE SERVICE                          P O BOX 145595 MC 8420G
                                                                         CINCINNATI, OH, 45250-5595


 Order View Filing Number Filing Type            Filing Date         Pages Lapse Date
            21-0046923683 Notice of Federal Lien 10/20/2021 05:00 PM 1     08/18/2031

 Debtor                LINDERIAN COMPANY LTD                             403 SYLVIA ST
                                                                         LONGVIEW, TX, 75604-1153
 Secured Party         INTERNAL REVENUE SERVICE                          P O BOX 145595 MC 8420G
                                                                         CINCINNATI, OH, 45250-5595


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0058069829 Financing Statement 12/30/2021 12:26 PM 2     12/30/2026

 Debtor        LINDERIAN COMPANY LTD                                      301 HOLLYBROOK DR
                                                                          LONGVIEW, TX, 75605
 Debtor        SUMMER MEADOWS                                             301 HOLLYBROOK DR
                                                                          LONGVIEW, TX, 75605
 Debtor        THE LINDERIAN COMPANY LTD                                  301 HOLLYBROOK DR
                                                                          LONGVIEW, TX, 75605
 Secured       CORPORATION SERVICE COMPANY, AS                            P.O. BOX 2576,
 Party         REPRESENTATIVE                                             UCCSPREP@CSCINFO.COM
                                                                          SPRINGFIELD, IL, 62708


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                                             0epartment of the Treasufy - Internal· Revenue Service                                   8
Form 668 (Y)(c)
(Rev. February 20041                                ·Notice of· Federal Tax tlen
Area:                                                         Serial Number                         'For·Optional Use b   Recordi   ;Office
S�L .BUSXNESS/SELF EMPLOYED AREA #5:
Lien.l!Jnit Phone: (800) _913-6050
 As provided by secilon 632 f, 6322, and 6323 of die IIHernal Reve11iie
 Code, we are livint r a nod� &hat taXes (lnd1:1dlna interest and penalties)                                                         4
 have been assessed against the foffowlng-namecl taxpayer. We have made
 a· demanci for payme11t of chis Jlal,IDty, but It remains· unpaid. Therefore,
          is
 there a Uen In favor of the United States on all propeny and rights c,


---------=----�----...............---........________....,........--1
 pi'oper,ty belonsfn1 to this, taxpayer for the-amount of these taXes; an.
 addldonal penalcles, Interest, and costs· that may accrue.                                       21-0046923683
                                                                                                  'llZJ/ 20/ 2l'J21 05:: 00 PM


--------:.......-.------:. 11111m:;��� .,..
Name of Taxpayer LINDERIAN' COMPANY LTD;                            a Partnership             I


Residence


                           111111111001111111 11m�1
                         403 SYLVIA ST                                                            SOS
                         LONGVI� •         TX 756.04 -l153




..----..--------------.---------------�------
   IMPORTANT RELEASE INFORMATION: For·each assessment listed be10..J                              1088399460010
   unless notice of the lien is refiled by the date _given in.column (e), this notice �.!lall
   on the day following such date, operate as a certificate of release as define<
   i!"I IRC 6326fal.

                        Tax Period                                      Date of           Last Daj' for               Unpaid Balance
Kind of Tax               Endfng        l�endfylng Niuriber          .Assessment             Refiling                 of Assessment
        (a)                Cb)                  (c)                       Cd)                  (e)                            in
      941              03/31/202,1          XX-XXX:8556            07/19/2021            ·08/18/2031                        20·7703·. 92




Place of FIiing                                                                                                 'I




                             Secretary of State                                                         Total    .$         207703.92
                             Austin, TX 78711


                                                   __
. 1ihls l"!Otice was prepared and signed at ____NASH V_I_L_L_E_·,_TN
                                                                  _____________ , on this,


the
               08th day of         October             2021


Signature                                                                 Title
                                                                          REVENUE OFFICER
for TEENA BRADBURY                                                        <��03) 266-58_57'
        (NOT�: Certificate of officer authorized by law to take ackriowledgment is not-essential 10 the validity ofNotice,of Federal Tax lien
        Rev. Aul. 71-466, 1971 • 2,C;B. 409)
                                                                                                                  Form 668(Y)(d {Rev. 2-20041
                                                     Pan I • Kepc By ticoNllq Office                                      CAT. NO 60026X
                            Case 22-60024 Doc 64                  Filed 02/06/22 Entered 02/06/22 14:10:48                                      Desc Main
                                        17489                     Document      Page 15 of 21
                                                            Department of the Treasury • Internal Revenue Service
               Form,668 (Y)(c)
               (Rev. February 2004)                                1N   otice of. federal Tax · uen
               Area:·                                                       Serial Number                             For   O        lional Use by Recording Office
               SMALL BUSINESS/SELF EMPLQYED AREA #5
               lien Unit Phone: {800·) 913-6050 .
                As pr:ovlded by-section 6321, 6322, and 6323 of the Internal Revenue.
                Code, we are giving a nodce chat taxes (includlng lnte�st and pe11alties)
                have been assessed against the fol�g-named taxpayer. We have·made ·
                a demand for payment of this llablilc,; but it remains unpaid� Therefore,
                there Is a llen In favor of the -United States· on all property and. righrs t�
                property belonging to this taxpayer for .the amoun, of ihese ;taxes, an!
                additional penalties; Interest, ancf coses chat may. �crue.                                    . 21-0036308245
                                                                                                                 08/17/ZCIJZl 05::,ma Pt1
               Name of Taxpayer LINDERIAN COMPANY LTD,                             a Partnership ,


               Residence                 4·03 SYLVIA ST
                                                                                                                   1 1 1 11 11 1 1 1 1 1 1 :�i����
                                                                                                                 sos ..
                                                                                                                                                            mtt




                                                                                                                 ·1 fl l l �l l l l l l l l l l l l�IIl l l l l l l l l ll l l l l l
                                         LONGVIEW, TX 75604-�153

                  IMPORTANT RELEASE INFORMATION:- For each assessment listed belm,.:                              1073351820010
                  unless notice of the iien is retiied·bv the date given in column (e); this notice shall
                  on the -day toiiowing such date, operate a_s a certificate of release as definec
...... ,.,_,      in IRC 6326(a).                                                                :

                                       Tax. Period                                      Date of          lase Day for                           Un�d Balance
               Kind ofTax               Ending       '. lde'1tlfyi"1 Number            Assessmenc           Refiling                            of ·Assessmenc
                      Cal                  (bl       '           (c)                       (d).                 Ce)                                    (f)
                      940             12/31/2020:         XX-XXX8556               07/12/2021.           08/11/2031                                      542.76
                     ·941             12/3.1/2020         XX-XXX85'56              05/10/2021,           06/09/2031                                   2496-26.39




               P!ace cit FIiing                                                    .   ------ - -         ..          ..    --   .    -   I •




                                            Secretary of State                                                             Total            $         250169.15
                                            Austin, TX 78711


                                                          __
               This notice was prepared and signed at ____NAS HV_I��-L_E_,_TN_.____________ , on this,


               the
                            06th day·of          August                2021


               Signature                                                                 . Title   .
                                                                                          REVENUE OF'.FICER
               for TEENA &RABBURY                                                         (90·3) 266-5857
                      CNOTE: Certificate_ o! officer authorized by law to take acknowledgment is not esseritial to the validity of'Notice ot Federal Tall lien
                      Rev. Rul. 71-466, 1971 ·,2 C.B . 4091
                                                                                                                                 Form 668m(c) (Rev. 2·2004)
                                                                    Pan t • Kept   By Recording Office                                            · cAT.   NO 60025X
                 Case 22-60024 Doc 64                  Filed 02/06/22 Entered 02/06/22 14:10:48                             Desc Main
                             17489                     Document      Page 16 of 21
                                                 Oepartment of the Treasury - Internal Revenue Service
    Form 668 (Y)(<)
    (Rev. February ·2004)
                              1
                             j:
                                                         Notice of Fed�ral Tax Lien
    Area:                                  Seriai Number                                                      For ci tional Use by Recordin Office
    SMALL BUSINESS/SELF EMPLOYED AREA #5 •
    lien Unit Phone: (800•) 913:..6050
     As provided by H.Cdon 6J2,t, 6�22, and 6J2J of the .Internal Revenue
     Codjt; we are aMns a notke,that taxes (lncludln1 Interest and penaldes)
     have, been assessed .against -the following-named wcpayer. We have made ·
     a demand .for payment of this Uablllty; but it remains· unpaid. Therefore; •
     there fs,a lien in favor of the Unked -�tates on aD property and rights �
     pr�peny belonging. to this taxpayer for tile amount ·of these taxes, •an•·
     addltlonal -pe11aldes, interest,· and coses that may •accrue.
                                                                                                         21-0030403780
                                                                                  07/16/2021 05.:80 PN


                                                                                                         IIHl;1m��� . ..
    Name of Taxpayer LINDERIAN COMPAI-N LTD, a Partnership I;



                                                                                                         111m1mm1111111111111
    Residence                     30:1 HOLLYBROOK BR
                                  LONGVIEW, TX 75605-2461
                                                                                                         1066313870004
       IMPORTANT             :RELEASEINFORMATION: For each,assessment listed                 below
1      unless notice of the lien is refiled by the date given in column Cel;this notice       shaii
       on the day following such date. operate as a certificate of release as define,.
       in! IRC 6326(a}.
                                                                                        \., . __

                             Tax Period                                    Date of             Lase D_ay for                 Unpaid Balance
    Kind of Tax                Ending.      ldendfyln, Number            Assessment               Refiffn1.                  of Assessment
                                                                                                                                         . ..
           tal                   (l:t)             (c)                       (ci)                     Ce)                          (f).
         941                96/30/2020         XX-JCXX8556             12/28/2020             01/27/2031                              20755,. 02




                      : i



                      I I




    Pia� of Fi!ing

                                    Secretary of State                                                         Total $               20755.02
                                    Austin, TX 787il


lihis notice was prepared andi signed at ____N_A--,,S_HV_I _L_L_E           ·
                                                                ' ,. . TN · _ ________ , on this,
                                                                 _ ____ ___


the              07th day of          July                202·1


,s1gnatl.1re                                                                  title                . .    .
                                                                             REVENt:JE OFFICER
    for TEENA BRADBURY                                                        (903) 266-5857
                                                        · · · lo·take acknowledgment is not essential to the validity·of Notice of Federal Tax lien
          (NOTE: Certificate ot officer auttiorized by law
          Rev. Aul. 7i-466, 1971 · 2 C,B; 4091
                                                                                                                      · Form 668(Y)(c) IRev.-2-2004)
                                                           P�t•      Ktpt,By Recording Office                                      CAT. NO 60025X
            Case 22-60024 Doc 64                   Filed 02/06/22 Entered 02/06/22 14:10:48                                   Desc Main
                        12832                      Document      Page 17 of 21
                                            ·Depar,tment of the Treasury - Internal Revenue .Service
Form 668 (Y.)( c)                                · Notice of Federal Tax Lien
CRev. Febru.irt 20041

Area: ·                                                    :   Serial Number.                          For 0Dtionamse by Recording Office
SMALL BUSINESS/SELF EMPLOYED AREA #.5 •                                            !.
Lien Unit Phone: (•BOO) 913-6050                                    -
   As' provided by secdon 6321-, 6J22, and 6323 of the ln�rnal ·Revenue
   Code; we are- giving a notke that· taxes (Including interest and penalcles)
   have been assessed a,ainsc che foiiowtna-named taxpayer. We· have made
  ·a demand· for paymepC. of' this llabllicy, but k remains unpaid. Therefore,
   there :ts a :11en.1n favor of che United Scates on all property and riahcs to.
   property belonaina co this taxpayer for che, amount of these t.illes, an!
   adcild.onal penalties, Interest, and coses tha� :m_ay .accme.
                                                                    _          [ .                21-0028534338
'Name of Taxpayer LINBERIAN COMPANY LTD., a Partnership : 07 /06/ 20.21 BS: 00 PM


Residence               301 :HdLLYBROOK DR
                                                                                                  sos
                                                                                                  I lllllll 111111111111 1111 �:�����            S lATE


                        LONGVIEW, TX 75605-2461

   IMPORTANT .RELEASE INFORMATION: For each assessment listed belovJ                              11111111111 11111111111111111111 111111111111111111 1111111111111111111111
   unless notice of the lien.is reflled·by the date given in coiumn (e), this notice shali,       1064111990005
   c>n the day fQllowing s�ct, date, op er�te as a certificate of release as defin�
   in IRC 6325(a).

              Tax Period                         Date of                                   Lase "rl. ior                 . . unpa1a liaiance
 Kind of Tax    Ending   :1dendt;illi.Niimber. Assessment                                    ;left 111                           of Assessment
     (a)          (b)             {c)              Cd>                                          (e)                                           en
    940      12/31/2019·. .xx-xxxas.s6 ,02/22/2021                                         03/24/2031                                        2458.23
    941      09/3·0/2020     XX-XXX8556 . 03/22/2021,                                      04/21/2031                                      102915·.,20




                                                                                      'I



Pia� of Filing

                            Secretary, of S.ta�e                                                           Total :$                        105373.43
                            Austin , TX 78711


Tihis notice was prepared and signed i at ____N_AS·_ _HV_I_b_L_E_•,_TN____________
                                                                       ·           _                                                                  ; on this,


the         15th day of          JWle                 2.021


Signature                                                                 Title
                                                                          REVENUE OFFICER
fqr TEENA BRADBURY                                                         (903) 266-5857
       (NOTE: Certificate of officer•authorized'by·Iaw to•take acknowledgment Is not essential to·tfle·validity of �otice ol FederalTiudien
       Rev. Rul. 71-466, 1971- 2 C:B. 4091
                                                                                                                 Form 668(Y)(c):lflev. 2-20041
                                                     P.art t • Kept ByRecordln10flke                                          C.AT. NO 60025X
             Case 22-60024 Doc 64                   Filed 02/06/22 Entered 02/06/22 14:10:48                                      Desc Main
                         17.S05                     Document      Page 18 of 21
                                              Dep·artment of the treasury - lntern·at Revenue ·Service
Form 668 {Y)(c)
(Rev. February 20041                                  Notice of Federal Tax Uen
Area:                                                         . •Serial Number                           F.or Oi>tional:Use          by Recorilina Office
SMALL BU.SINESS/SELF EMPLOYED AREA #5                         :
Lien Unit Phone: (,000> 913-6050                                                     - 10

  As proviclecl bj .secdon 6321:, 6322, and 6J.2J of the Jntemal Revenue
  Code, we are afvin1 a notice that taxes (inclucil"g Interest                  and
                                                                       penalties)
                                                                                                                 �v,CE!v�
                                                                                                                 '
                                                                                                                 i'iCt]�
                                                                                                                              0                          -
  have been assessed ·against the followlria�named' taxpayer. We ·have made
 ·a demand: for payment of this Jiabllky, but It remains unpaid. Therefore,
 ,there 'Is a Hen In .favor of the United ,States on ·all .property and ripes to
  property belonslng. to this taxpayer for the amount of these •taxes, and
                                                                                                                              �E                   -..
                                                                                                                                                    --
                                                                                                                                                    I-
                                                                                                                                                    C    =-==
                                                                                                                              Nm
                                                                                                                                      ·fil...J .. ·=
                                                                                                                                                   -
                                                                                                                                                    i
                                                                                                                              .......
  additional penaldes; ·Interest; and cosu that may accrue.                                                                   U>m

                                                                                                                              S)� .... : ·:-
                                                                                                                                                         -�
'Name of Taxpayer         LINDERI� COMPANY LTD, a Partnership                                                                                       I!
                                                                                                                                                           ......

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                                                                                                                     '
                                                                                                                                             ....�..,
                                                                                                                                         LL I!!'' '
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                                                                                                                     I

                                                                                                                     !                   �
                                                                                                                                         =               :� 1�
                                                                                                                                                         =(")'
                                                                                                                                :l'\J·
'Residence                301 HOLLYBROOK DR                                                                          '        U,.a
                          LONGVIEW, TX 7.S6
                                                                                                                     I
                                                                                                                              SN                         � ·
                                          . 05-246.1                                                                          s'
                                                                                                                                                                u,
                                                                                                                     !                                   -�N·
                                                                                                                                         �               �-
                                                                                                                     I        6> .... -o;;::::a;;;;;;;;GI
                                                                                                                                      �u,;;;;;;;;;;;;;;;.-.
                                                                                                                              N� =:::en�...
   IMPORTANT RELEASE: INFORMATION:, For each assessment iisted beiow,
   unless notice·of the lien is refiled"by the date given in column (e), ,his notice shall,
   on the day fol.towing such date. operate c1S a certificate of release as defined                                      '      -        - -              -·--
   in IRC 63251a).

                        Tax Period                                        Date of           bst Da ·for                             ll�d Balance1

Kind of Tax              'Ending   ldentlfyin1 Number Assessment                              Rell l.ng                              of Assessment
       (a)                  (b)             (c)           (d)                                     (e)                                          ,n
      941              09/30/2019     XX-Xll8556 12/3·0/2019                                ·Ol/29•/2030                                    1842'.91. 90
      941              12/31/201·9    XX-XX:�8556 0-3/30/202·0                              ·04/29/2030                                     245499.28
      941              03/31/20-20    xx-xxxe5·s6 0·9/14/2020                                10/14/2030                                      273,94 .• 21




Place   of Filing

                             Secretary of State                                                                                             457185.39
,-------------------------------------------
                             Austin, TX 7-8711


This notice     was prepared .and signed at         ____ _AS_H
                                                                N       V_I_L_L_E_·;_TN____________
                                                                                       _.          _                                                     , on this,


             0 3rd                 December             2020
the                      day of


Signature                                                                   ;Title           .               .
                                                                            REVENUE OFFICER                                                 25-01-5334
for TEENA BRADBURY                                                           (903). 266-5857
        !NOTE: Certificate of officer authorized by law to take,acknowledgmerit is·ncit essential to   the   validity of·Notlce of Federal Tax.lien
      _ f!8.Y..:,_R}.IJ,-7J.:.411_Q;JJ:1.7.L:..2-_C;P_,_409)______                   -----                                   Foim:668(Y)(c) (Rev. 2-2004)
                                                      Pan t - Kept By Rec«dlna Office                                                      CAT. NO 60025X
             Case 22-60024           Doc 64        Filed 02/06/22 Entered 02/06/22 14:10:48                                   Desc Main
                                                   Document      Page 19 of 21
                                 17489
                                             Department of the Treasury - Internal Revenue Service
Form 668 (Y)(c)
(Rev. February 2004)                                Notice of Federal Tax Lien
Area:                                                        Serial Number                          For Optional Use by Recording Office
SMALL BUSINESS/SELF EMPLOYED AREA #5
Lien Unit Phone: (BOO) 913-6050                                                  390677319
 As provided by section 6321, 6322, and 6323 of the Internal Revenue                                 /
                                                                                                                                                                -
 Code, we are giving a notice that taxes (including interest and penalties)
 have been assessed against the following-named taxpayer. We have made
                                                                                                         19-0043518809
 a demand for payment of this liability, but it remains unpaid. Therefore,                               11/15/2019 05:00 PM

                                                                                                         Il l l 1 1 1 1 1 1 1 1 �:�:��'�' ""'
 there is a lien in favor of the United States on all property and rights to
 property belonging to this taxpayer for the amount of these taxes, and
 additional penalties, interest, and costs that may accrue.
                         LINDERIAN COMPANY LTD, a Partnership                                            sos

                                                                                                         1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 11 1 1
Name of Taxpayer


Residence                403 SYLVIA ST                                                                   927682890009
                         LONGVIEW, TX 75604-1153                                                     '                                                              ;
                                                                                                                                                                    /


                                                                                                         c.,'clVt�"•
   IMPORTANT RELEASE INFORMATION: For each assessment listed below,                                  <,;                  '
   unless notice of the lien is refiled by the date given in column (e), this notice shall,         "\�\','!ti\
   on the day following such date, operate as a certificate of release as defined
   in IRC 6325(a).

                        Tax Period                                     Date of           Last Da for                          Unpaid Balance
 Kind of Tax              Ending        Identifying Number           Assessment             Refi d.ng                         of Assessment
     (a )                   (b)                  (c)                     (d)                  (e)                                         (0
      1065             12 /31/2018          XX-XXX8556            10/07/2019             11/06/2029                                      2400,00
      941              09/30/2015           XX-XXX8556            12/07/2015             01/06/2026                                     15176;60
      941              12 /31/2015          XX-XXX8556            04/04/2016             05/04/2026                                   247410.88
      941              03/31/2016           XX-XXX8556            07/11/2016             08/10/2026                                     89062.21
      941              09/30/2017           XX-XXX8556            02/19/2018             03/20/2028                                   · 12936. 63
      941              12 /31/2017          XX-XXX8556            03/19/2018             04/18/2028                                   193596.93
    · 941              03/31/2018           XX-XXX8556            07/02 /2018            08/01/2028                                   166634.76
      941              06/30/2018           XX-XXX8556            11/26/2018             12/26/2028                                   218308.18
      941              09/30/2018           XX-XXX8556            12 /31/2018            01/30/2029                                   254257.01
      941              12/31/2018           XX-XXX8556            04/01/2019             05/01/2029                                   263333.89
      941              03/31/2019           XX-XXX8556            07/08/2019             08 /07 /2029                                 258400.05




Place of Filing

                             Secretary of State                                                          Total        $             1721517.14
                             Austin, TX 78711


                                           N_A_S_H_V I LL E,TN
This notice was prepared and signed at ____         _ _ _ _ _ _ _________ ____ , on this,

the
             04th       day of    November            2019


Signature                                                                Title
                                                                         REVENUE OFFICER                                              25-01-5334
for TEENA BRADBURY                                                       (903) 266-5857
       (NOTE: \Certificate of officer authorized by law to take acknowledgment is not essential to the validity of Notice of Federal Tax lien
       Rev. Rul. 71-466, 1971 - 2 C.B. 409)
                                                                                                                 Form 668(Y)(c) (Rev. 2-20041
                                                       Part I - Kept By Recording Office
                                                                                                                              CAT. NO 60025X
              Case 22-60024 Doc 64                  Filed 02/06/22 Entered 02/06/22 14:10:48                              Desc Main
                         11953                      Document      Page 20 of 21
                                             Department of the Treasury - Internal Revenue Service
For111 668 (Y)(c)
(Rev. February 20041                                 Notice of Federal Tax Uen
Area:                                                        Serial Number                          For Optional Use by Recordina Oflice
SMALL BUSINESS/SELF EMPLOYED AREA #5
Lien Unit Phone: (800) 913-6050
 A$ provided by section 632 t, 6322, and 6323 of the Internal Revenue                                  15-0033367028
 Code, we are alvfns a notke that wees (lndudlna Interest and penalties)
 have been usessed aplnst the followlna-namecf taxpayer. We have made                                  10/16/2015 05:00 PM

                                                                                                       I HII I HI � 1 1 ;:�:::.��
 a demand for payment of this bblllty, but It remains unpaid. Therefore,
 there Is a Hen In favor of the United States on aU property and      to            rlshts
 property belonpng to this WqNyer for the .mount of these taxes, and                                                                  mrt
 additional penalties, interest, and costs thac JmY accrue.                                            sos
Name of       Taxpayer LINDERIAN COMPANY LTD, a Partnership
                                                                                                       lll l ll l l ll lllll l lll �IIIHIII II
                                                                                                       636222340008
Residence                403 SYLVIA ST
                         LONGVIEW, TX 75604-1153
                                                                                                       �GEi£,�
   IMPORTANT RELEASE INFORMATION: For each assessment listed below,                                   't'        <6
   unless notice of the lien is refiled by the date given in column (e), this notice shall,             OCT 16 2015
   on the day following such date, operate as a certificate of release as defined                      Ol.K 'I,�
   in IRC 6325(a).

                        Tu Period                                      Dace of           last �a}' for                    Unpaid Balance
 Kind of Tax             Ending         ldendfyin1 Number            Assessment             Rellllna                      of Assessment
        (a)               (b)                   (c)                      ( d)                 (el                                (fl
      940              12/31/2014           XX-XXX.8556            07/06/2015            08/05/2025                              9119.30
      941              03/31/2015           XX-XXX.8556            06/22/2015            07/22/2025                            254703.05




Place of Filing

                            Secretary of State                                                         Total          $       263822.35
                            Austin, TX 78711


This notice was prepared and signed at               ___N_AS_HV_I_L_L_E_,_TN
                                                                           ________ ____ , on this,


the           06th      day of    October              2015

Signature                                                                 Title
                        � ��
                                                                          REVENUE OFFICER
for LEONARD ISABELL                                                       (903) 291-2235 X2250
        (NOTE: Certificate of officer authorized by law to take acknowledgment is not essential to the validity of Notice of Federal Tax lien
        Rev. Aul. 7t -466, 1971 - 2 C.B. 409!
                                                                                                                 Form 668(Y)(c) (Rev. 2·20041
                                                      Pan 1 . K•t aY Recordfn• • Offlce
                                                                                                                              CAT. NO 60025X
              Case 22-60024           Doc 64     Filed 02/06/22 Entered 02/06/22 14:10:48                           Desc Main
                                                  Document       Page 21 of 21
                               11953
                                            Department ot the Treasury • Internal Revenue Service
Form 668 (Y)(c)
(Rev. February 20041                                Notice of Federal Tax Lien
Area:                                                        Serial Number                         For Optional Use by Recording Office
SMALL BUSINESS/SELF EMPLOYED AREA #5
Lien Unit Phone: (800) 913-6050                                -                                                                       .   · ·--,
                                                                                                                                              . . �
 As provided by section 6321, 6322, and 6323 of the Internal Revenue
                                                                                                         15-0027450993
                                                                                                                                                      \



 Code, we are giving a notice chat taxes (including interest and penalti es )
 have been assessed against the following-named taxpayer. We have made
                                                                                                        09/18/2015 05:00 PM

                                                                                                      : lsoslllil ;:�:�:,� . .,.
 a demand· for payment of this liability, but le remains unpaid. Therefore,
 there is a Hen In favor of the United States on all property and rights to
 property belonging to this taxpayer for the amount of these taxes, and




                                                                                                     Lltl�IIIIHIHI�)
 additional penalties, interest, and costs that may accrue.
Name of Taxpayer LINDERIAN COMPANY LTD, a Partnership


Residence                301 HOLLYBROOK DR
                         LONGVIEW, TX 75605-2461

   IMPORTANT RELEASE INFORMATION: For each assessment listed below,
   unless notice of the lien is refiled by the date given in column (el, this notice shall,
   on the day following such date, operate as a certificate of release as defined
   in IRC 6325(a).

                        Tax Period                                     Date of          Last Da for                Uns,ald Balance
 Kind of Tax              Ending       Identifying Number           Assessment             Refi l.ng               of Assessment
       (a)                  ( b)                (c)                   (d)                   (e).                          (f)
      940              12/31/2011          XX-.XXX8556            10/22/2012            11/21/2022
      940              12/31/2011          XX-XXX8556             03/30/2015            04·/29/2025                          684.47
      941              12/31/2014          XX-XXX8556             03/30/2015            04/29/2025                        252925.44




Place of Filing

                            Secretary of State                                                        Total    $         253609.91·
                            Austin, TX 78711


This notice· was prepared and signed at
                                                             NASHVILLE, TN                                                       , on this,


the          10th day of         August               2015


Signature               �            �a.,vr--                            Title
                                                                         REVENUE OFFICER
for LEONARD ISABELL                                                      {903) 291-2235'x2250
       (NOTE: Certificate of officer authorized by law to take acknowledgment is not essential to the validity of Notice of Federal Tax lien
       Rev. Aul. 71-466, 1971 - 2 C.B. 409)
                                                                                                                Form 668(Y)(<) (Rev. 2-20041
                                                      Part I - Kepc By Recording Office                                      CAT. NO 60025X
